RULE to show case wherefore the sale of the lands of Anthony Reybold, by the sheriff, for seventeen thousand five hundred dollars, and returned to this term in the above-stated case, should not be set aside. The only ground for setting aside the sheriff's sale was the inadequacy of the price for which it was sold.
No less than ten gentlemen and landowners of high respectability, residing in the section of the country in which the farm lies, testified that they considered it worth from twenty-five to thirty thousand dollars, while one of them estimated it as high as forty thousand dollars. It was also proved that a gentleman of ample means was at the sale prepared to bid twenty-five thousand dollars for it, but owing to his deafness and inability to hear the bidding himself, and the failure of his agent to pursue his instructions on the occasion, it was struck off for the sum of seventeen thousand five hundred dollars.
The Court, on these grounds, made the rule absolute and set aside the sale.